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                     EXHIBIT “1”




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                                                              IN THE CIRCUIT COURT OF THE 11TH
                                                              JUDICIAL CIRCUIT IN AND FOR
                                                              MIAMI-DADE COUNTY, FLORIDA

                                                              CASE NO.: 2019-036514-CA-01

        MICHAEL PHELPS

               Plaintiff,

        v.

        HOMEAWAY.COM, INC. and VIAC & CO.
        INC. d/b/a VIAC LUXURY REAL ESTATE

              Defendants.
        __________________________________/

                                            NOTICE OF REMOVAL

                   PLEASE TAKE NOTICE that Defendant, HOMEAWAY.COM, INC., has this date filed

        a Notice of and Petition for Removal pursuant to 28 U.S.C. § 1446 in the office of the Clerk of the

        United States District Court for the Southern District of Florida. The federal court has jurisdiction

        over this matter in accordance with 28 U.S.C. §§ 1331 and 1441. A copy of the Notice is attached

        hereto as Exhibit 1. In accordance with Title 28 of the United States Code, no further proceedings

        should be held in the Circuit Court of the Eleventh Judicial Circuit, in and for Miami-Dade County,

        Florida.

        Dated: January 27, 2020
                                                              Respectfully submitted,


                                                              /s/ Beth S. Joseph
                                                              Beth S. Joseph
                                                              Florida Bar No. 62952
                                                              Sarah Jayne Cohen
                                                              Florida Bar No. 1010683
                                                              Morgan, Lewis & Bockius LLP
                                                              200 S. Biscayne Blvd., Ste. 5300
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                                                              beth.joseph@morganlewis.com
                                                              sarah.cohen@morganlewis.com

                                                              Counsel for Homeaway.com, Inc.
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 27, 2020, the foregoing was filed using the Florida

   Courts E-Portal which will serve a copy by email pursuant to Fla. R. Jud. Admin. 2.516 on:

    Max S. Soren, Esquire
    Dinin Law Group, P.A.
    4200 NW 7th Avenue
    Miami, FL 33127
    inbox@dininlawgroup.com

    Counsel for Plaintiff



                                               /s/ Beth S. Joseph
                                               Beth S. Joseph
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                     EXHIBIT “1”




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. ________________

   MICHAEL PHELPS

          Plaintiff,

   v.

   HOMEAWAY.COM, INC. and VIAC & CO.
   INC. d/b/a VIAC LUXURY REAL ESTATE

         Defendants.
   __________________________________/

                            NOTICE AND PETITION FOR REMOVAL

          Defendant, HOMEAWAY.COM, INC. (“Defendant”), by and through undersigned

   counsel, and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, hereby files this Notice of Removal

   (the “Notice”). Defendant respectfully requests that the Court remove this action filed by Plaintiff,

   MICHAEL PHELPS (“Plaintiff”), from the Circuit Court of the Eleventh Judicial Circuit in and

   for Miami-Dade County, Florida, to the United States District Court for the Southern District of

   Florida. The removal of this action is based upon the following:

          1.       On or about December 16, 2019, Plaintiff filed his Complaint in the Circuit Court

   of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, captioned Michael Phelps

   v. Homeaway.com, Inc. and Viac & Co. Inc. d/b/a Viac Luxury Real Estate (the “Circuit Court

   case”). The Circuit Court case was assigned Case No. 2019-036514-CA-01. In the Complaint,

   Plaintiff alleges that both defendants violated the 42 U.S.C. § 3604, and Plaintiff seeks relief

   pursuant to 42 U.S.C. § 3613. See Compl.




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          2.      Because Plaintiff asserts claims under the Federal Fair Housing Act, this action is

   within the original federal question jurisdiction of the United States District Court pursuant to 28

   U.S.C. § 1331. Thus, this action is removable pursuant to 28 U.S.C. § 1441(a).

          3.      Plaintiff effectuated service of process on Defendant on December 26, 2019.

   Therefore, this Notice has been filed within thirty days after service upon Defendant of the

   pleading setting forth the claims for relief upon which this removal is based, as required by 28

   U.S.C. § 1446(b). See Exhibit 1.

          4.      A removal is not proper unless “all defendants who have been properly joined and

   served . . . consent to the removal of the action.” 28 U.S.C. §1446(b)(2)(A). To date, Defendant

   Viac & Co. Inc. d/b/a Viac Luxury Real Estate has not been served in the Circuit Court case.

          5.      As required by 28 U.S.C. § 1446(a), a copy of all process, pleadings, and order

   served upon the parties are attached to this Notice at Exhibit 1.

          6.      Pursuant to 28 U.S.C. § 1446(d), Defendant will provide prompt written notice of

   the removal to all adverse parties in this action and will file a copy of this Notice with the Circuit

   Court in and for Miami-Dade County, Florida.

          7.      The United States District Court for the Southern District of Florida includes the

   judicial county in which Plaintiff filed his Complaint. Thus, removal is proper to this Court.

          WHEREFORE, Defendant respectfully request that the United States District Court for the

   Southern District of Florida accept the removal of this action from the Circuit Court and direct that

   the Circuit Court in and for Miami-Dade County, Florida has no further jurisdiction of this matter

   unless and until this case is remanded.




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   Dated: January 27, 2020
                                Respectfully submitted,


                                /s/ Beth S. Joseph
                                Beth S. Joseph
                                Florida Bar No. 62952
                                Sarah Jayne Cohen
                                Florida Bar No. 1010683
                                Morgan, Lewis & Bockius LLP
                                200 S. Biscayne Blvd., Ste. 5300
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                                sarah.cohen@morganlewis.com
                                Counsel for Homeaway.com, Inc.




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